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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Dealer Management Systems Antitrust
Litigation, et al.
                                                 Plaintiff,
v.                                                            Case No.: 1:18−cv−00864
                                                              Honorable Rebecca R.
                                                              Pallmeyer
CDK Global, LLC, et al.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 22, 2024:


       MINUTE entry before the Honorable Rebecca R. Pallmeyer: Telephone motion
hearing held. Dealership class plaintiff's unopposed motion for preliminary approval of
settlement and conditional certification of proposed settlement class [1528] is granted.
The court sets an in−person final approval hearing for 2/25/25 at 10:00 a.m. in courtroom
2503. The Dealership plaintiffs are directed to submit a revised proposed order to the
court by 8/23/2024. Mailed notice. (cp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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